 

Case 920-c- 0010 a RPG SeaTHES BMH CRT © RET Com

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXAS NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION FILED
UNITED STATES OF AMERICA § Ser 15 2020
VS. : cabe NQ: ERs
ORALIA FIGUEROA : By Dapy

 

 

REPORT AND RECOMMENDATION OGocre/Ol-1C US

CONCERNING PLEA OF GUILTY

ORALIA FIGUEROA, by consent, under authority of United States v. Dees, 125 F.3d 261 (5" Cir. 1997),

has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty Count 4 of the 15 Count
Indictment, filed on February 26, 2020. After cautioning and examining Defendant Oralia Figueroa, under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Oralia
Figueroa, be adjudged guilty of Aiding and Assisting in the Preparation of False and Fraudulent Individual Tax
Returns, in violation of 26 USC § 7206(2), and have sentence imposed accordingly. After being found guilty of the
offense by the district judge.

L The defendant is currently in custody and should be ordered to remain in custody.

The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
community if released.

The Government does not oppose release.

The defendant has been compliant with the current conditions of release.

I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
other person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release,

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

[ ] The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
evidence that the defendant is not likely to flee or pose a danger to any other person or the community if
released.

Signed September 15, 2020.

 

 

UNITED STATES MAGISTRATE JUDGE
NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date

of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
